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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 20-cv-23287-DPG

   LUIS MANUEL RODRIGUEZ,
   MARIA TERESA RODRIGUEZ, a/k/a
   MARIA TERESA LANDA,
   ALFREDO RAMON FORNS,
   RAMON ALBERTO RODRIGUEZ,
   RAUL LORENZO RODRIGUEZ,
   CHRISTINA CONROY, and
   FRANCISCO RAMON RODRIGUEZ,

                   Plaintiffs,

   v.

   IMPERIAL BRANDS PLC,
   CORPORACIÓN HABANOS, S.A.,
   WPP PLC, YOUNG & RUBICAM LLC,
   and BCW LLC, a/k/a BURSON COHN &
   WOLFE LLC,

                   Defendants.

                  DEFENDANTS’ MOTION FOR LEAVE TO FILE SURREPLY

         Defendants Young & Rubicam LLC (“Y&R”) and BCW LLC (“BCW”) hereby file this

  Motion for Leave to File a Surreply in Opposition to Plaintiffs’ Motion for Leave to Conduct

  Jurisdictional Discovery and to Stay the Briefing Schedule on Defendants’ Personal Jurisdiction

  Motion. In support of this motion, Y&R and BCW state as follows:

             1.           Plaintiffs’ Reply memorandum [ECF No. 108] contains new legal

  arguments and allegations not included in either their amended complaint [ECF No. 82] or in their

  motion for jurisdictional discovery [ECF No. 97]. The Reply alleges two new legal theories—an



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  alter ego theory of liability and an internet domain theory—in an attempt to establish personal

  jurisdiction over the defendants. Reply 5, 7, 9. The Reply also makes an incorrect claim regarding

  certain websites cited in the motion. Id. at 7.

             2.          The Reply violates Local Rule 7.1(c)(1), which provides in part that a “reply

  memorandum shall be strictly limited to rebuttal of matters raised in the memorandum in

  opposition without reargument of matters covered in the movant’s initial memorandum of law.”

             3.          Pursuant to Local Rule 7.1(c)(1), Y&R and BCW seek the Court’s leave to

  file a surreply in order to respond to the new material raised in the Reply.

             4.          Accordingly, Y&R and BCW seek leave to file a surreply not exceeding ten

  (10) pages through and including July 22, 2021.

             5.          This motion is being made in good faith and not for purposes of delay.

  Further, no party will be prejudiced by granting the relief requested herein.

             WHEREFORE, Defendants Y&R and BCW respectfully request leave of Court to file

  a surreply not exceeding ten (10) pages through and including July 22, 2021.




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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         In accordance with Local Rule 7.1(a)(3), Y&R and BCW requested a meet and confer with

  Plaintiffs by email on July 20, 2021. Y&R and BCW then conferred with Plaintiffs’ counsel about

  their request to file a surreply by telephonic conference on July 20, 2021. Plaintiffs’ counsel does

  not agree to the requested relief.


  Date: July 22, 2021                           s/Naim S. Surgeon
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                                                Attorneys for Defendants WPP PLC, YOUNG &
                                                RUBICAM LLC, and BCW LLC




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 22, 2021, I electronically filed the foregoing Motion

  For Leave to File a Surreply By Defendants Young & Rubicam LLC and BCW LLC with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record in this case via transmission of Notice of Electronic Filing generated

  by CM/ECF.


  Date: July 22, 2021                          s/Naim S. Surgeon
                                               NAIM S. SURGEON




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